     Case: 1:18-cv-05552 Document #: 18 Filed: 10/15/18 Page 1 of 2 PageID #:69



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

TAX VISION, LLC,                                   )
                                                   )
                       Plaintiff,                  )      Case Number: 1:18-cv-05552
               v.                                  )
                                                   )      Judge Robert M. Dow Jr.
ADVANCED TAX SOLUTIONS, LLC and                    )
SQUIRE DAHL                                        )      Magistrate Judge Maria Valdez
                                                   )
                       Defendants.                 )

          NOTIFICATION OF AFFILIATES PURSUANT TO LOCAL RULE 3.2

       Pursuant to Local Rule 3.2, Defendant Advanced Tax Solutions, LLC hereby states that it

has no publicly-held affiliates.



                                                   Respectfully submitted,

                                                   ADVANCED TAX SOLUTIONS, LLC

Date: October 15, 2018                             By:    /s/ Mark R. Bagley
                                                          Mark R. Bagley
                                                          TOLPIN & PARTNERS, PC
                                                          100 North LaSalle Street, Suite 501
                                                          Chicago, Illinois 60602
                                                          (312) 698-8971

                                                          Attorney for Defendant
                                                          Advanced Tax Solutions, LLC




                                             -1-
     Case: 1:18-cv-05552 Document #: 18 Filed: 10/15/18 Page 2 of 2 PageID #:70



                                CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing NOTIFICATION OF
AFFILIATES PURSUANT TO LOCAL RULE 3.2 was served via the Northern District of
Illinois electronic filing system to:

                      Jonathan LA Phillips
                      Melissa N. Schoenbein
                      SHAY PHILLIPS, LTD.
                      230 Southwest Adams Street, Suite 310
                      Peoria, Illinois 61602

on this 15th day of October, 2018.



                                                  /s/ Mark R. Bagley
                                                  Mark R. Bagley




                                            -2-
